Case 2:91-cv-00589-CJC Document 677-26 Filed 07/10/20 Page 1 of 6 Page ID #:6798




                            EXHIBIT 55




                                     Exhibit 55
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             Case 2:91-cv-00589-CJC Document 677-26 Filed 07/10/20 Page 2 of 6 Page ID #:6799
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               VIA        FACSIMILE

               Jean Rice, Esq.
               Office of Regional Counsel
               U.S. EPA, Region IX
               75 Hawthorne Street
               San Francisco, California 94105
                                   Re:            McColl Superfund Site
                Dear Jean:
                         On March 27, 1991, EPA informed representatives of Shell
                Oil Company, Union Oil Company of California, Atlantic Richfield
                Company, Texaco Refining and Marketing Inc. and Phillips
                Petroleum Company (the "Companies") that the Agency is delaying
                the Record of Decision ("ROD") for the McColl Site until late
                1993. EPA intends to reevaluate the February 1989 Supplemental
                Reevaluation of Alternatives ("SROA") before issuing the ROD.
                According to newspaper accounts, the stated reasons for the delay
                are:  "to make sure we have followed the legal requirements of
                the law" and to "go back to the community, do our re-evaluation
                and present a new proposed plan" before a decision is made. Yet,
                in the same conversation, the EPA informed the Companies that it
                has rejected their recent offer and that it would be issuing a
                fact sheet in mid-April announcing its recent decision. The




                                                                             Exhibit 55
                                                                               6756
Case 2:91-cv-00589-CJC Document 677-26 Filed 07/10/20 Page 3 of 6 Page ID #:6800
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 Jean Rice, Esq.
 April 4, 1991
 Page 2


 Companies inferred from the conversation that the EPA will be
 announcing its rejection of the selective excavation approach to
 remediation in the fact sheet. In light of the soon to be
 embarked upon feasibility study, a rejection at this time of a
 viable remedial alternative for McColl is clearly premature,
 violates the screening process set forth in the National Oil and
 Hazardous Substances Contingency Plan ("NCP"), fails to give the
 public an opportunity to consider and comment on the selective
 excavation approach, and threatens to turn the remedy selection
 process on its head. If the Agency proceeds on this course, in
 all probability, the Agency will end up being at precisely the
 same place in late 1993 that it was in 1987 and is presently.
          Less than three months ago, we sent a letter to Greg
 Ritter outlining the many procedural shortcomings of the Agency's
 remedy selection process at McColl to date. The letter outlined
 in detail the specific process required to be followed in the
 course of remedy selection. To reiterate, under CERCLA Section
 121, EPA is required to assess alternative technologies and
 alternative remedial actions according to certain criteria and to
 choose as a final remedy the alternative that best satisfies
 these criteria. The process is fully delineated in the NCP.
 Under the NCP, the EPA is first to screen potentially suitable
 alternatives. Then, as part of its feasibility study, the EPA is
 required to engage in a detailed analysis of the alternatives
 identified as viable approaches to remedial action after
 evaluation in the screening stage. 40 C.F.R. §
 300.430(e)(9)(i). "The primary objective of the feasibility
 study is to ensure that appropriate remedial alternatives are
 developed and evaluated such that relevant information concerning
 the remedial action options can be presented to a decision-maker
 and an appropriate remedy selected." 40 C.F.R. § 300.430(e)(1).
          If the EPA summarily rejects the Companies' selective
 excavation approach and fails to fully evaluate the approach in
 its upcoming evaluation process, the Agency will undermine the
 NCP requirement that each viable remedial alternative undergo a
 thorough analysis and opportunity for public comment. Clearly,
 the selective excavation approach represents a viable approach to
 remediation and deserves a thorough evaluation by the Agency in
 the upcoming feasibility study. The approach provides for the
 treatment of the material with the highest potential for risk
 (elevated arsenic and the mobile tarry waste) while avoiding the
 significant problems associated with total excavation. The




                                                Exhibit 55
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Case 2:91-cv-00589-CJC Document 677-26 Filed 07/10/20 Page 4 of 6 Page ID #:6801
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 Jean Rice, Esq.
 April 4, 1991
 Page 3


 approach satisfies all of the NCP criteria. The end result of
 the selective excavation alternative leaves McColl with a
 residual risk of less than 1 in 100,000,000,000. Moreover, the
 selective excavation alternative is an approach the Companies are
 willing to undertake to cleanup McColl. A summary rejection of
 this alternative will be contrary to the process required to be
 followed under CERCLA and the NCP.
          As mentioned above, in our January letter to Greg
 Ritter, we described in detail the many shortcomings present in
 the Agency's remedy selection process at McColl to date. We
 included a discussion of the National Resources Defense Council.
 Inc. v. Callaway. 524 F.2d 79 (2d Cir. 1975), decision. In
 Callaway. the Navy was dredging the Thames River to permit larger
 submarines up to its New London base. The original Environmental
 Impact Study ("EIS") had selected a reef for disposal of the
 polluted dredging material from the river. However, the permit,
 which was required from the Corps of Engineers, was rejected.
 The Corps advised the Navy it should use a different site for
 disposal of the dredged material. Thereafter, the Navy prepared
 an addendum to the EIS selecting the site recommended by the
 Corps for disposal of the polluted material. The court enjoined
 the Navy from proceeding with the operation, finding the addendum
 to the EIS inadequate. The most serious deficiency in the
 addendum was its complete failure "to compare the relative
 environmental pros and cons of all the dumping sites proposed and
 to explain the reasons for the change. Such a statement is
 essential to enable all parties to examine the merits of the
 proposed change." Id. at 93 (emphasis added). The addendum also
 lacked "an evaluation of the containment characteristics of the
 New London site and a presentation of the risks of major or minor
 environmental damage peculiar to that site. All of this
 information would certainly be necessary for the reader to
 understand and evaluate the proposed change in dumping site." Id.
          The Callaway court stressed the importance that the EIS
 discuss all alternatives in order to expose the reasoning behind
 the decision. "By failing to present a complete analysis and
 comparison of the possible dumping sites, the Final EIS fails to
 perform its vital task of exposing the reasoning and data of the
 agency proposing the action to scrutiny by the public and by
 other branches of the government." Id. at 94. Although not a
 specific element in the court's opinion, the court was clearly




                                                  Exhibit 55
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Case 2:91-cv-00589-CJC Document 677-26 Filed 07/10/20 Page 5 of 6 Page ID #:6802

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 Jean Rice, Esq.
 April 4, 1991
 Page 4


 influenced by the fact that the Corps of Engineers had already
 made up its mind prior to commencing the study.
          The Callaway decision teaches an important lesson that
 should be heeded by the Agency in its new course of action at
 McColl. The upcoming feasibility study should evaluate the pros
 and cons of all viable remedial alternatives for remediating the
 McColl Site. A thorough evaluation of the Companies' selective
 excavation offer is necessary so that the public and other
 agencies can understand and evaluate the EPA's decision process.
 The Agency has delayed action at the Site, once again, to make
 certain it complies with the law and that the public is included
 in the decision-making process. A summary rejection of the
 selective excavation approach will run afoul of both of these
 objectives.
          In conclusion, the Agency has embarked on a new course
 of action at McColl. It intends to reevaluate the remedial
 alternatives for the Site in order to make certain it complies
 with the law in the course of its remedy selection process and to
 make certain the public is sufficiently included in that
 process. If that is the case, the Agency should start out on the
 right foot and thoroughly evaluate the Companies' selective
 excavation alternative. It is unnecessary at this time for the
 Agency to reject the selective excavation approach. In fact, the
 law requires that the approach be given a thorough evaluation by
 the Agency. It is clearly improper for the Agency to adversely
 prejudice future public evaluation of the selective excavation
 approach by summarily rejecting the Companies' proposal in its
 upcoming newsletter before the approach is adequately evaluated
 in the upcoming feasibility study process.

                                            Sincerely,


                                            Cynthia L. Burch, on behalf of Shell
                                            Oil Company, Union Oil Company of
                                            California, Atlantic Richfield
                                            Company, Texaco Refining and
                                            Marketing Inc. and Phillips
                                            Petroleum Company
 CLB:pla




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Case 2:91-cv-00589-CJC Document 677-26 Filed 07/10/20 Page 6 of 6 Page ID #:6803
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 April 4, 1991
 Page 5


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         Pam Wieman, U.S. EPA, Region IX
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